                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  AT WINCHESTER

UNITED STATES OF AMERICA                       )
                                               )        Case No. 4:15-cr-18
v.                                             )
                                               )        Judge Travis R. McDonough
AMY GLASGOW                                    )
                                               )        Magistrate Judge Susan K. Lee
                                               )


                                            ORDER



       On February 24, 2016, Magistrate Judge Susan K. Lee filed a Report and

Recommendation recommending that (a) Defendant’s motion to withdraw her not guilty plea to

Count One of the Indictment be granted; (b) Defendant’s guilty plea to the lesser included

offense of the charge in Count One of the Indictment be accepted; (c) the Court adjudicate

Defendant guilty of the lesser included offense of the charge in Count One of the Indictment; and

(d) the decision on whether to accept the plea agreement be deferred until sentencing. (Doc. 76,

at 1–2.) Neither party filed an objection within the given fourteen days. After reviewing the

record, the Court agrees with Magistrate Judge Lee’s Report and Recommendation.

Accordingly, the Court ACCEPTS and ADOPTS the Magistrate Judge’s report and

recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1) Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment is

       GRANTED;

       (2) Defendant’s plea of guilty to Count One of the Indictment, in exchange for the

       undertakings made by the government in the written plea agreement, is ACCEPTED;




Case 4:15-cr-00018-TRM-SKL          Document 88 Filed 03/16/16            Page 1 of 2        PageID
                                          #: 195
      (3) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

      Indictment;

      (4) a decision on whether to accept the plea agreement is DEFERRED until sentencing;

      and

      (5) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Friday, June 3,

      2016, at 9:00 am.

      SO ORDERED.

      ENTER:


                                         /s/
                                         TRAVIS R. MCDONOUGH
                                         UNITED STATES DISTRICT JUDGE




                                           2

Case 4:15-cr-00018-TRM-SKL       Document 88 Filed 03/16/16          Page 2 of 2    PageID
                                       #: 196
